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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE


    IN RE ZYNERBA PHARMACEUTICALS,
                                   C.A. No. 20-cv-557-CFC
    INC. DERIVATIVE LITIGATION

                  PLAINTIFFS’ UNOPPOSED MOTION FOR
                PRELIMINARY APPROVAL OF SETTLEMENT

        Plaintiffs Phillip Quartararo and Dmitry Itkis (“Derivative Plaintiffs”) hereby

move this Court, pursuant to Rule 23.1 of the Federal Rules of Civil Procedure, for

entry of an order: (1) granting preliminary approval of the proposed Settlement as

set forth in the Stipulation and Agreement of Settlement dated April 28, 2021 (the

“Stipulation”)1; (2) approving the Parties’ proposed method and manner of providing

notice of the Settlement to Zynerba Pharmaceuticals, Inc. stockholders; (3)

scheduling a hearing at which time the Court will consider whether the proposed

Settlement should be granted final approval; and (4) granting such other relief as the

Court deems just and proper.      In support of this motion, Derivative Plaintiffs rely

upon the accompanying Brief in Support, the Declaration of Brian E. Farnan in

Support of Plaintiffs’ Unopposed Motion for Preliminary Approval of Settlement

(the “Declartion”), the Stipulation and exhibits annexed thereto, and all prior



1
  Unless otherwise defined herein, all defined terms shall have the meanings as set
forth in the Stipulation, which is attached as Exhibit 1 to the Declaration of Brian E.
Farnan in Support of Plaintiffs’ Unopposed Motion for Preliminary Approval of
Settlement.

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 pleadings and proceedings.

       The Parties’ agreed-upon form of proposed Preliminary Approval Order is

 attached as Exhibit C to the Stipulation attached to the Declaration. Derivative

 Plaintiffs respectfully request that the Court enter the proposed Preliminary

 Approval Order and insert a date for the final settlement hearing in paragraph 2.

       Defendants do not oppose this motion.

Dated: May 7, 2021                            Respectfully submitted,

Of Counsel:                                   FARNAN LLP

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